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AFFIDAVIT OF CAPTAIN SUZANNE E. ENGLEBERT

STATE OF LOUISIANA

PARISH OF ORLEANS

BEFORE ME, undersigned Notary, duly commissioned in.and for this Parish and State, came and

appeared:

SUZANNE E. ENGLEBERT

who, after being sworn by me, did depose and state:

1. I am currently a Captain in the United States Coast Guard (“USCG”) and have been career

USCG since graduating from the U.S. Coast Guard Academy in 1984. A copy of my resume is

attached.

2. I submit this affidavit pursuant to Fed. Rule Civ. Proc. 53(a)(2) relative to possible grounds

for disqualification from appointment as a Master in this action.

3. Since June 3", 2010, in my capacity with the USCG, I have acted as the “Officer-in-Charge”

of all physical evidence subpoenaed by the Joint U.S. Coast Guard - Bureau of Ocean Energy
. Management, Regulation & Enforcement (“BOEMRE”) investigation (“JIT”) into the explosion, fire,

sinking and pollution from the MODU DEEPWATER HORIZON (“DWH”). In that capacity, I acted

as direct liaison to eight (8) federal agencies and to the private litigants to ensure the security, access,

and testing of the evidence as well as resolution of issues related to the investigation and litigation.

4, While I have been involved in the investigation, I have not acted in any capacity that could be

termed an “adviser,” but rather I acted as the USCG Senior Liaison with all parties in interest to

facilitate evidence control including its preservation and forensic testing.

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5. Other than my involvement as Senior Liaison, I know of no grounds under 28 U.S.C. § 455

that may disqualify me from acting as Master for the continued preservation of the evidence. This

“> day of Bese l , 2011.

SUZANNE E. ENGLEBERT

SWORN TO AND SUBSCRIBED BEFORE ME,
NOTARY, THIS &6” DAY OF Resue® 2011.

SP

NOTARY P, BLIC )
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